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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

UNITED STATES OF AMERICA                     )
                                             )          No. 19 CR 567-3
      v.                                     )
                                             )         Judge Harry D. Leinenweber
MILTON BROWN                                 )
                                             )


                    DEFENDANT MILTON BROWN’S
            MOTION FOR AN ORDER RELEASING HIS PASSPORT


       Defendant, MILTON BROWN, by the Federal Defender Program and its attorney,

MARY H. JUDGE, respectfully requests an order authorizing the United States Pretrial

Services Office to release Milton Brown’s passport to defense counsel so that it can be

offered into evidence in this case.

       Counsel has confirmed with Pretrial Services Officer, Justin Wiersema, that the

passport is currently being maintained in the Chicago Pretrial Office.

       Mr. Brown’s passport was collected by a probation officer in Las Vegas, Nevada, on

July 12, 2019. Mr. Brown turned his passport over as a condition of his pretrial release.

Thereafter, the passport was mailed to the Chicago Pretrial Services office and was

received on July 26, 2019. It has been maintained in their storage area since that time.
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                                    CONCLUSION

      WHEREFORE, for these reasons, Milton Brown respectfully requests an order

requiring pretrial services to release Mr. Brown’s passport to defense counsel for the

limited purpose of entering the passport into evidence in this case.

                                                Respectfully submitted,

                                                FEDERAL DEFENDER PROGRAM
                                                John F. Murphy
                                                Executive Director

                                         By:    /s/Mary H. Judge
                                                Mary H. Judge
                                                Attorney for Milton Brown

                                                /s/Kathleen Leon
                                                Kathleen Leon




FEDERAL DEFENDER PROGRAM
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                            CERTIFICATE OF SERVICE

      The undersigned, Mary H. Judge, an attorney with the Federal Defender Program
hereby certifies that in accordance with FED.R.CRIM. P. 49, FED. R. CIV. P5, LR5.5,
and the General Order on Electronic Case Filing (ECF), the following document(s):

                    DEFENDANT MILTON BROWN’S
            MOTION FOR AN ORDER RELEASING HIS PASSPORT

was served pursuant to the district courts ECF system as to ECF filings, if any, and were
sent by first-class mail/hand delivery on September 7, 2022, to counsel/parties that are
non-ECF filers.


                                  By:     s/Mary H. Judge
                                         MARY H. JUDGE
                                         FEDERAL DEFENDER PROGRAM
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                                         Chicago, Illinois 60603
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